     Case: 1:24-cv-07987 Document #: 40 Filed: 10/16/24 Page 1 of 2 PageID #:473




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LUCKYMOGO TECHNOLOGY LIMITED,
LTD.,

               Plaintiff,                           Civil Action No. 24-cv-7987

v.                                                  Judge Matthew F. Kennelley

THE INDIVIDUALS, CORPORATIONS,                      Magistrate M. David Weisman
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A,

               Defendants.


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses without prejudice all causes of action in the Complaint against the following Defendant:


                       Defendant Seller Alias              DOE No.
                        ABCP8TS6EYPQ3                        27


Each party shall bear their own attorney’s fees and costs. Defendant has not filed an answer or a

motion for summary judgment in this matter. Therefore, it is respectfully submitted that dismissal

under Rule 41(a)(1)(A)(i) is appropriate.




                                                1
    Case: 1:24-cv-07987 Document #: 40 Filed: 10/16/24 Page 2 of 2 PageID #:474




Date: October 16, 2024                      Respectfully submitted,

                                            /s/ Keaton Smith
                                            Keaton D. Smith
                                            WHITEWOOD LAW PLLC
                                            57 W. 57th Street
                                            New York, New York 10019
                                            Tel: (917) 858-8018
                                            Email: ksmith@whitewoodlaw.com


                                            Counsel for Plaintiff




                                        2
